Case 2:22-cv-04053-JDC-KK Document 23 Filed 06/09/23 Page 1 of 2 PageID #: 739




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                            LAKE CHARLES DIVISION


WILLIAM ROBINSON                                   CASE NO. 2:22-CV-04053

VERSUS                                             JUDGE JAMES D. CAIN, JR.

STATE FARM FIRE & CASUALTY CO                      MAGISTRATE JUDGE KAY
ET AL


                                       JUDGMENT

       Before the court is a Report and Recommendation of the Magistrate Judge,

recommending a sanction of $1,000 against respondent R. William Huye III for his

violations of Federal Rule of Civil Procedure 11(b) based on his representation of plaintiff.

These violations occurred while respondent was employed as an attorney with the firm

McClenny, Moseley & Associates, PLLC (“MMA”). Based on a de novo review of the

record, and considering the objections, the court agrees that the sanction should be

imposed. Rule 11(c) provides, however, that “[a]bsent exceptional circumstances, a law

firm must be held jointly responsible for a violation committed by its partner, associate, or

employee.” Fed. R. Civ. P. 11(c)(1). The court must therefore determine whether the firm

should be held jointly liable with Mr. Huye.

       Mr. Huye was still employed with MMA when the show cause order in this matter

was issued. He was represented at the hearing on April 26, 2023, by attorney Gwyneth

O’Neill, who stated that she also represented MMA. MMA therefore had actual notice of

the hearing and an opportunity to respond. There is no basis in the record to suggest
Case 2:22-cv-04053-JDC-KK Document 23 Filed 06/09/23 Page 2 of 2 PageID #: 740




exceptional circumstances that would relieve the firm of joint responsibility for

respondent’s actions. To the contrary, Huye’s testimony about his role as managing partner

of the firm’s Louisiana office reflect the firm’s systemic lack of attention to verifying that

“the factual contentions have evidentiary support or, [. . . ] will likely have evidentiary

support,” as required by Rule 11(b)(3). Considering these factors, the court finds that MMA

must be held jointly liable for the violation committed by its former employee.

Accordingly,

       IT IS ORDERED, ADJUDGED, and DECREED that the Report and

Recommendation be ADOPTED, subject to the modification described above. R. William

Huye III and McClenny Moseley & Associates, PLLC are thus jointly sanctioned in the

amount of $1,000.00, to be deposited with the registry of the court. Payment must be

completed by December 1, 2023.

       The clerk is directed to mail a copy of this judgment to plaintiff at the address

provided by MMA and on file with the court.

       THUS DONE AND SIGNED in Chambers on this 9th day of June, 2023.


                    _________________________________________
                               JAMES D. CAIN, JR.
                        UNITED STATES DISTRICT JUDGE




                                         Page 2 of 2
